                Case 3:20-cr-00357-X Document 1 Filed 06/16/20                           Page 1 of 6 PageID 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT FILED
                                                                 for the
                                                      Northern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas
                                                                                                   June 16, 2020
                                                                                             KAREN MITCHELL
                  United States of America                          )                    CLERK, U.S. DISTRICT COURT
                             v.                                     )
                Christopher Michael Fairley                         )      Case No.3:20-MJ-605-BT
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     June 8, 2020                in the county of                Dallas            in the
     Northern          District of             Texas            , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 1546                                  Fraud and Misuse of Visas, Permits, and Other Documents




         This criminal complaint is based on these facts:
See attached affidavit of U.S. Department of State Special Agent Tom Huszcza




         ✔ Continued on the attached sheet.
         ’



                                                                                               Complainant’s signature

                                                                              Tom Huszcza, Special Agent, Department of State
                                                                                                Printed name and title

Agent sworn and signature confirmed via reliable electronic means, pursuant to Fed. R. Crim. P. 4.1.


Date:             06/15/2020
                                                                                                  Judge’s signature

City and state:                           Dallas, Texas                          Rebecca Rutherford, U.S. Magistrate Judge
                                                                                                Printed name and title




        Print                        Save As...                  Attach                                                  Reset
      Case 3:20-cr-00357-X Document 1 Filed 06/16/20            Page 2 of 6 PageID 2



                                         AFFIDAVIT

        1.       I, Tom Huszcza, being duly sworn, state the following is true and correct to

the best of my knowledge and belief:

                          INTRODUCTION AND BACKGROUND

            2. I have been employed by the U.S. Department of State, Diplomatic Security

Service as a Special Agent for approximately twelve years. I am currently assigned to the

Dallas Resident Office in Dallas, Texas, and have been since August of 2018. During my

time as a special agent, I have participated in investigations of passport fraud, money

laundering, conspiracy, theft, wire fraud, identity theft and fraudulent document

investigations. Through my training, education and experience, I have become familiar

with the way’s individuals impersonate and assume other identities and/or personas;

forge, alter, and misrepresent documents to falsely present themselves; and conceal fruits

of their crimes. I have attended and successfully completed the Criminal Investigator

Training Program at the Federal Law Enforcement Training Center, and the Basic Special

Agent Course, at the Diplomatic Security Training Center.

        3.       I make this affidavit based upon my own investigation, upon electronic

records furnished to me in my official capacity, information provided by other law

enforcement agencies, and speaking with relevant witnesses. This affidavit does not

contain every material fact that I have learned during the course of this investigation, but

only those facts sufficient to support a finding of probable cause.




Affidavit
Page 1


                                    SBU -LAW ENFORCEMENT
      Case 3:20-cr-00357-X Document 1 Filed 06/16/20            Page 3 of 6 PageID 3



Based on my investigation to date, I submit that there is probable cause to believe that

Christopher Michael FAIRLEY (FAIRLEY) has committed violations of the United

States Code 18 U.S.C. § 1546, namely possession of a counterfeit U.S. passport card:

“other document prescribed by statute or regulation for entry into or as evidence of

authorized stay in the United States, or possesses any such document prescribed by

statute or regulation for entry into or as evidence of authorized stay in the United States,

knowing it to be forged, counterfeited, altered.“


                                   PROBABLE CAUSE

        4.    Christopher Michael FAIRLEY 09/26/1991 is a United States citizen wanted

by Imperial County Sheriff’s Office, California and Colorado Springs, Colorado Sheriff’s

Office on warrants for “Assault With Deadly Weapon” (03/12/2020) and “Assault”

(03/20/2019) respectively.

        5.    On June 8th, 2020 in the Northern District of Texas, a police officer with the

Wilmer, TX Police Department stopped and subsequently arrested “Brandon Johnson”

(date of birth 10/07/1991) after Johnson presented a counterfeit Maine Driver’s License

#1609247 during a traffic stop an provided the officer a social security number XXX-XX-

9526 to the officer. Additionally, officers found a United States passport card

#C127417768 also in the name of “Brandon Johnson” a bearing the same photograph as

the counterfeit Maine driver’s license.




Affidavit
Page 2


                                  SBU -LAW ENFORCEMENT
      Case 3:20-cr-00357-X Document 1 Filed 06/16/20            Page 4 of 6 PageID 4




            6. Both identity documents bear the same image and have a distinctive tattoo over

the subjects left eyebrow. Subsequent to the arrest and after fingerprinting “Brandon

Johnson”, officers learned “Brandon Johnson” was Christopher Michael FAIRLEY.

        7.       Utilizing the U.S. Department of State Consular Consolidated Database, I

learned that neither “Brandon Johnson 10/07/1991” nor U.S. passport card C127417768

have ever been applied for or issued. I compared the seized U.S. Passport card to a genuine

exemplar and noted that U.S. passport card # C127417768 was missing key security

features. As such the U.S. passport card is counterfeit.

        8.       Utilizing the National Law Enforcement Telecommunication System

(NLETS), I learned that “Brandon Johnson 10/07/1991” does not possess a Maine driver’s

license. Maine driver license #1609247 has been issued to a white male “D.H.” xx-xx-

1976 who bears no resemblance to FAIRLEY. NLETS records further show, Christopher

Michael FAIRLEY was issued a TX ID card #45461599. Image from this ID card is

identical to the image of “Brandon Johnson” on the counterfeit U.S. passport card to

include a distinctive tattoo over the left eyebrow.

        9.       The social security number XXX-XX-9526 provided to Wilmer police by

“Brandon Johnson” belongs to a minor child, “S.K.W” born in 2009 in Maine.


Affidavit
Page 3


                                    SBU -LAW ENFORCEMENT
      Case 3:20-cr-00357-X Document 1 Filed 06/16/20           Page 5 of 6 PageID 5



        10.      Christopher Michael FAIRLEY was issued a TX ID card #45461599 and has

the same distinctive tattoo over his left eye as the counterfeit Maine driver’s license and

U.S. Passport card.




            11. On 06/12/2020, your affiant interviewed Christopher FAIRLEY at the Dallas

County jail, Dallas, TX. After being advised of his Constitutional rights, FAIRLEY stated

that he purchased the counterfeit documents in Houston from a "guy on the street

Downtown Houston in the Warehouse District". FAIRLEY stated that he paid $400 for the

set of documents. Someone took FAIRLEY's photograph on the spot and a few days later,

FAIRLEY returned to pick up the documents namely the U.S. Passport card, Maine

Driver's license, and two debit cards in the name of "Brandon Johnson". FAIRLEY stated

that "they" gave him the "Brandon Johnson" name, date of birth and the social security

number. FAIRLEY stated that all the aforementioned documents were in his wallet when

he was stopped by Wilmer Police. Lastly, FAIRLEY told your affiant that he purchased

these documents because he kept getting stopped by the police and arrested for the

outstanding warrants.

                                       CONCLUSION

Based upon the above facts and circumstances, I respectfully submit that there is probable

cause to believe that FAIRLEY did willfully and knowingly possess a counterfeit U.S.

Affidavit
Page 4


                                    SBU -LAW ENFORCEMENT
      Case 3:20-cr-00357-X Document 1 Filed 06/16/20           Page 6 of 6 PageID 6



passport card in violation of Title 18, United States Code, Section 1546; “other document

prescribed by statute or regulation for entry into or as evidence of authorized stay in the

United States, or possesses any such document prescribed by statute or regulation for

entry into or as evidence of authorized stay in the United States, knowing it to be forged,

counterfeited, altered.“




                                                  _________________________________
                                                  Tom Huszcza
                                                  Special Agent
                                                  US Department of State
                                                  Diplomatic Security Service

Agent sworn and signature confirmed via reliable electronic means, pursuant to Fed.
R. Crim. P. 4.1., on the ______ day of June 2020, in Dallas, Texas.



                                                  _________________________________
                                                  REBECCA RUTHERFORD
                                                  United States Magistrate Judge




Affidavit
Page 5


                                  SBU -LAW ENFORCEMENT
